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          Exhibit A
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

       Plaintiff

       vs.

MAURICIO CHAVEZ, GIORGIO                                    CIVIL ACTION NO. 4:22-CV-03359
BENVENUTO and CryptoFX, LLC,
                                                            JUDGE ANDREW S. HANEN
       Defendants.

CBT Group, LLC,

       Relief Defendant.


             GRAPH OF CRYPTOFX FUNDS RAISED AND CASH TO CHAVEZ


       Personally appeared before the undersigned notary public, duly authorized to administer

oaths, S. Gregory Hays, who being duly sworn, deposes and states the following under oath:

       1.      My name is S. Gregory Hays. I am over 21 years of age, of sound mind, and

otherwise competent to give this affidavit based on my personal knowledge.

       2.      I am the managing principal of Hays Financial Consulting, LLC ("HFC"), which

was employed by the court-appointed Receiver, John Lewis, Jr. (the "Receiver") as Financial

Consultants and Accountants. Our role is to assist the Receiver with financial analysis and forensic

accounting, and a court order allowing this employment was entered on December 1, 2022. (Doc.

Nos. 31 and 37).

       3.      The Receiver employed Shook, Hardy & Bacon LLP ("SFIB") as counsel to the

Receiver. Collectively, the Receiver, FIFC, and SHB are referred to as the "Receiver Team".
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       4.      The Receiver Team inspected the offices of CryptoFX and arranged to have all the

paper records scanned and stored in Relativity, a database and document review program.

       5.      I searched the CryptoFX files in Relativity and identified the revenue reports (the

"Revenue Reports") of cash transaction activity for CryptoFX for the time January, 2021 to

September 28, 2022 (the last day these Revenue Reports were available). For the first quarter of

2021 I could only find monthly revenue reports. Starting in April 2021, I located Daily Reports

and organized in chronological order and input in an Excel database. These Revenue Reports are

the primary type of accounting records for CryptoFX the Receiver Team has located to date.

       6.      The Daily Reports list "Total Revenue" in the top, left column by day. It is my

understanding that this figure represents the total of investment contracts that were entered into for

the day. This same column includes "Rollovers," which I understand to be investment contracts

that are renewed and where no cash changed hands.

       7.      I summarized the activity on these Monthly and Daily Revenue Reports for the time

from January 1, 2021 to September 28, 2022.

       8.      From my review of Daily Reports in prior months, cash delivered to Mauricio

Chavez ("Chavex") is often described as follows: "Entrega' Maurico;" "Entrega Cash Mauricio;"

or sometimes just "Entrega Cash." It is my understanding that all of these references indicate the

cash that was delivered to o Chavez. Furthermore, the Daily Report for 9/22/22 includes a footnote

`$127,000.00 LO TOMO MAURICIO" in Spanish which I understand in English means that

$127,000 was delivered to Chavez.




I "Entrega" is Spanish for "delivery." See
https://wwvv.collinsdictionary.com/us/dictionary/spanish-english/entrega (last accessed Dec. 22,
2022).



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       9.      I prepared a graph on the data for total funds raised less rollovers that totals

$300,445,728. I also summarized the total cash delivered to Chavez and that total is $41,034,014.

       10.     I reviewed the price of Bitcon ("BTC") and took the opening price on the first of

every month for BTC.

       11.     I then plotted all this data in the chart included as "Exhibit A".

       12..    1 focused on the time period from November 1, 2021 to September 28, 2022 to

demonstrate that the CryptoFX fraud increased as the price of BTC declined. The chart also

indicates the total cash delivered to Chavez. The Receiver has not been able to account or the $41

million in cash delivered to Chavez.




FURTHER AFFIANT SAY ETH NOT.



                                                S. Gre or Hays



Sworn to and Subscribed before me

This 2 5 Day of January, 2023

              17
Notary Public
My Commission Expires:            - 2.02,




                                                  3
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                   CryptoFX Fraud Increased as BI                             in Price Decreased
                   —Total Cash to Chavez       €■■••11•Total Revenue Net of Rollovers     —BTC dose on 1st
  $350,000,003                                                                                                              $70,000



                                                                                   Total Revenue Net of
  $300,000,000                                                                                                              $60,000'
                                                                                  Rollovers: $300,445,728

                                        Bitcoin Price
  $250,000,000                                                                                                              $50,000




V $200,000,000                                                                                                              $40,00:
                                                                                                                                 f.
                                                                                                                                 to
I $150,000,000                                                                                                              $30,000

   0.00,000,00.                                                                                                             $20,000

                                                                           Total Cash to Chavez:
                                                                                $41,043,014
    $50,000,000                                                                                                             $10,000




            $0                                                                                                              $0
                  Nov-21   Dec-21   Jan-22   Feb-22     Mar-22   Apr-22    May-22       Jun-22   Jul-22   Aug-22   Sep-22
